         Case 1:22-mj-00022-RMM Document 69 Filed 11/18/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA
                                                     Criminal No.: 22-mj-22 (RMM/BAH)


ILYA LICHTENSTEIN
       and
HEATHERMORGAN,

Defendants.


                                NOTICE, OF SEALE,D F             G

       The United States of America by and through undersigned counsel, hereby gives notice

that is has filed today with the Court, through the Classified Information Security Officer,

Govemment's First Classified, In Camera, Ex Parte Memorandum of Law and Motion for an

Order Pursuant to $ 4 ofthe Classified Information Procedures Act and Rule 16(d)(1) ofthe

Federal Rules ofCriminal Procedure. This document is not available for public viewing.

                                              Respectfu lly submitted,

                                              MATTHEW M. GRAVES
                                              United States Attomey
                                              D.C. Bar No. 481052


                                      By:     lsl Jolie F. Zimmerman
                                              JOLIE F. ZIMMERMAN
                                              D.C. Bar 4651i0
                                              CHRISTOPHER B. BROWN
                                              D.C. Bar No. 1008763
                                              Assistant United States Attomeys
                                              United States Attorney's Office
                                              District of Columbia
                                              601 D Street, N.w., 5th Floor
                                              Washington, D.C. 20530
                                              Telephone: (202) 252-7252
Case 1:22-mj-00022-RMM Document 69 Filed 11/18/22 Page 2 of 2




                           C. ALDEN PELKER
                           JESSICA PECK
                           N.Y. Bar No. 5188248
                           Trial Attomeys
                           United States Department of Justice
                           Computer Crime & Intellectual Property Section
                           1301 New York Ave., N.W., Suite 600
                           Washington, D.C. 20005
